                            UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF ARIZONA


 In re: GREGORY A. JARRETT                     §      Case No. 10-20964
                                               §
                                               §
               Debtors                         §
           CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


 Russell Brown, chapter 13 trustee, submits the following Final Report and Account of the
 administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The trustee declares as follows:

        1) The case was filed on 07/06/2010.

        2) The plan was confirmed on NA.

        3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
           NA.

        4) The trustee filed action to remedy default by the debtor in performance under the plan
           on NA.

        5) The case was dismissed on 09/29/2010.

        6) Number of months from filing or conversion to last payment: NA.

        7) Number of months case was pending: 3.

        8) Total value of assets abandoned by court order: NA.

        9) Total value of assets exempted: $0.00.

        10) Amount of unsecured claims discharged without full payment: $0.00.

        11) All checks distributed by the trustee relating to this case have cleared the bank.




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 Receipts:
        Total paid by or on behalf of the debtor                          $ 0.00
        Less amount refunded to debtor                                    $ 0.00
 NET RECEIPTS                                                                                $ 0.00



 Expenses of Administration:

        Attorney's Fees Paid Through the Plan                             $ 0.00
        Court Costs                                                       $ 0.00
        Trustee Expenses & Compensation                                   $ 0.00
        Other                                                             $ 0.00

 TOTAL EXPENSES OF ADMINISTRATION                                                            $ 0.00

 Attorney fees paid and disclosed by debtor:                              $ 0.00



 Scheduled Creditors:
 Creditor                                           Claim        Claim          Claim   Principal      Interest
 Name                                 Class      Scheduled     Asserted       Allowed       Paid          Paid
 JAMES E. BROWN                       Lgl             0.00         NA             NA        0.00          0.00
 PRO PER                              Lgl             0.00         NA             NA        0.00          0.00




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 Summary of Disbursements to Creditors:

                                               Claim         Principal      Interest
                                               Allowed       Paid           Paid
 Secured Payments:
        Mortgage Ongoing                           $ 0.00        $ 0.00         $ 0.00
        Mortgage Arrearage                         $ 0.00        $ 0.00         $ 0.00
        Debt Secured by Vehicle                    $ 0.00        $ 0.00         $ 0.00
        All Other Secured                          $ 0.00        $ 0.00         $ 0.00
 TOTAL SECURED:                                    $ 0.00        $ 0.00         $ 0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                $ 0.00        $ 0.00         $ 0.00
         Domestic Support Ongoing                  $ 0.00        $ 0.00         $ 0.00
         All Other Priority                        $ 0.00        $ 0.00         $ 0.00
 TOTAL PRIORITY:                                   $ 0.00        $ 0.00         $ 0.00

 GENERAL UNSECURED PAYMENTS:                       $ 0.00        $ 0.00         $ 0.00



 Disbursements:

        Expenses of Administration                 $ 0.00
        Disbursements to Creditors                 $ 0.00

 TOTAL DISBURSEMENTS:                                                     $ 0.00




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         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
 the estate has been fully administered, the foregoing summary is true and complete, and all
 administrative matters for which the trustee is responsible have been completed. The trustee
 requests a final decree be entered that discharges the trustee and grants such other relief as may
 be just and proper.

                                                                         Digitally signed by Russell Brown
                                                                         DN: cn=Russell Brown,
                                                                         o=Chapter 13 Trustee, ou,
                                                                         email=mail@ch13bk.com, c=US
                                                                         Date: 2010.11.04 16:28:17 -07'00'


 Date: 11/04/2010                        By: /s/ Russell Brown
                                                  Trustee

 STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
 Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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